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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                             )
THE STATE OF OKLAHOMA, et al                 )
                                             )
                                             )
                Plaintiff,
                Plaintiff,                   )
                                             )
       v.                                    )      No. 19-1022C
                                             )      Judge Lettow
THE UNITED STATES,                           )
                                             )
                Defendant.                   )

                                 NOTICE OF APPEARANCE

To the Clerk:

                                            Douglas T. Hoffman
       Please enter the appearance of _____________________________, as attorney of record

for the United States. Service of all papers by opposing parties should be addressed as follows:

                                     Douglas T. Hoffman
                                         Trial Attorney
                                Commercial Litigation Branch
                                        Civil Division
                              United States Department of Justice
                                          PO Box 480
                                     Ben Franklin Station
                                   Washington, D.C. 20044




                                                            s/Douglas T. Hoffman
                                                         DOUGLAS T. HOFFMAN
                                                               Trial Attorney
                                                        Commercial Litigation Branch
                                                               Civil Division
                                                          Telephone: (202) 353-0547
                                                          Facsimile: (202) 514-8640
                                                     Email: Douglas.T.Hoffman@usdoj.gov
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